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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case Number: 19-cr-20450-SCOLA

  UNITED STATES OF AMERICA,

                          Plaintiff,
                  v.

  ALEX NAIN SAAB MORAN,

               Defendant.
  ___________________________________________/


      MOTION TO DESIGNATE A CLASSIFIED INFORMATION SECURITY OFFICER
                      PURSUANT TO SECTION 9 OF THE
                 CLASSIFIED INFORMATION PROCEDURES ACT


          The United States of America respectfully requests that the Court designate a Classified

  Information Security Officer (“CISO”), 1 pursuant to Section 9 of the Classified Information

  Procedures Act, 18 U.S.C. App. III (“CIPA”) (stating “the Chief Justice of the United States, in

  consultation with the Attorney General, the Director of National Intelligence, and the Secretary of

  Defense, shall prescribe rules establishing procedures for the protection against unauthorized

  disclosure of any classified information in the custody of the United States district courts . . . .”).

  See also Section 2 of the Security Procedures established pursuant to Pub. L. 96-456, 94 Stat. 2025,

  by the Chief Justice of the United States (stating “[i]n any criminal case . . . in which classified

  information is within, or is reasonably expected to be within, the custody of the court, the court

  will designate a ‘classified information security officer.’”). In support of its application, the United


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          In the original Security Procedures promulgated by Chief Justice Burger, the title of the position
  was Court Security Officer. In the revised Security Procedures promulgated by Chief Justice Roberts, the
  position is now known as Classified Information Security Officer.
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  States provides the following:

         1. This is a criminal matter in which the grand jury returned an indictment charging the

  defendant with one count of conspiracy to commit money laundering, in violation of Title 18,

  United States Code, Section 1956(h) (Count One), and seven counts of laundering monetary

  instruments, in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2 (Counts

  Two through Eight). Counts Two through Eight have since been dismissed against the defendant

  pursuant to a motion by the United States.

         2. The United States anticipates the need to file a motion for a protective order, ex parte,

  in camera, and under seal, pursuant to Section 4 of CIPA. That ex parte, in camera, under seal

  motion would refer, relate, or otherwise involve classified information.

         3. For that reason, the United States seeks the appointment of a CISO to assist the Court

  with matters involving classified information. The CISO would be detailed to the Court and serve

  in a neutral capacity. See Pub. L. 96-456, 94 Stat. 2025, § 2 (the Security Procedures established

  by Chief Justice Roberts). The CISO would be “responsible to the court for the security of all

  classified information in the court’s custody, including . . . any pleadings or other filings created

  in connection with the proceedings, and any form of information contained in any format . . . .”

  Id. The CISO also would be responsible for “any matters relating to personnel, information, or

  communications security . . . .” Id. To that end, the government anticipates that the CISO will

  assist the Court in obtaining the necessary security clearances for court personnel, handling and

  reviewing any classified information submitted by the government to the Court, and preparing

  proper classification markings on any orders issued by the Court.

         4. The United States respectfully requests that the Court designate Carli V. Rodriguez-Feo

  as the CISO for this case. Carli V. Rodriguez-Feo is employed by the Department of Justice,



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  Litigation Security Group. The United States further respectfully requests that the Court designate

  the following persons to serve as Alternate CISOs in the event Carli V. Rodriguez-Feo is not

  available: Daniel O. Hartenstine, Daniella M. Medel, Matthew W. Mullery, Harry J. Rucker,

  Winfield S. “Scooter” Slade, and Abigail J. Trzyzewski. Id. (stating the Court “may designate, as

  required, one or more alternate classified information security officers . . . .”). These individuals

  also are employed with the Department of Justice, Litigation Security Group.

         5. The Security Procedures provide that the Department of Justice is responsible for all

  costs associated with the appointment of the CISO:

         All expenses of the United States Government that arise in connection with the
         implementation of these procedures, including any construction or equipment costs,
         will be borne by the Department of Justice and other appropriate Executive Branch
         agencies whose classified information is being protected.

  Id.

                                                Respectfully submitted,

                                                JUAN ANTONIO GONZALEZ
                                                UNITED STATES ATTORNEY

                                                By: /s/ Kurt K. Lunkenheimer
                                                   Kurt K. Lunkenheimer
                                                   Assistant U.S. Attorney
                                                    Court ID No. A5501535
                                                    99 N.E. 4th Street
                                                    Miami, Florida 33132-2111
                                                    TEL (305) 961-9008
                                                    Kurt.Lunkenheimer@usdoj.gov

                                                LORINDA I. LARYEA
                                                ACTING CHIEF, FRAUD SECTION
                                                Criminal Division
                                                U.S. Department of Justice

                                                By: /s/ Alexander Kramer
                                                   Alexander Kramer
                                                   Trial Attorney
                                                   Criminal Division, Fraud Section

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                                        U.S. Department of Justice
                                        Court ID No. A5502240
                                        1400 New York Ave. NW
                                        Washington, DC 20005
                                        TEL (202) 768-1919
                                        alexander.kramer@usdoj.gov




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